                                              UNITED STATES DISTRICT COURT
                                              MIDDLE DISTRICT OF TENNESSEE
                                                   NASHVILLE DIVISION

SITEL CORPORATION,

                        PLAINTIFF

v.                                                                            CIVIL ACTION NO.
AMERICAN HOME ASSURANCE
COMPANY

Serve:
Commissioner ofthe Tennessee Deparment of
Commerce and Insurance,
Attn: Service of Process
500 James Robertson Parkway
Nashville, TN 37243-113 1


                        DEFENDANT.


                                  COMPLAINT FOR DECLARTION OF RIGHTS

            The plaintiff, Sitel Corporation ("Site1"), alleges:

                                                               Nature of Action

            1. This is an action for a declaratory judgment pursuant to 28 U.S.C. § 2201 and 28


U.S.C. § 2202, for the purpose of determining a question of actual controversy between the

parties as more fully set out below.

                                                          Jurisdiction and Venue

            2. Sitel is a Delaware corporation with its principal place of                    business in Nashville,

Tennessee. Sitel was previously known as ClientLogic Operating Corporation ("ClientLogic"),

also a Delaware corporation with its principal place of                      business in Nashville, Tennessee. All

references to Sitel in this complaint include its predecessor-in-interest, ClientLogic, and all

references to ClientLogic include Site!.




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            3. The defendant, American Home Assurance Company ("American Home"), is a

foreign privately-owned company with its principal United States place of                                                 business in New York

City, New York. Its registered agent for service of                               process is the Commissioner of                 the

Tennessee Deparment of Commerce and Insurance, 500 James Robertson Parkway, 5th Floor,

Nashville, TN 37243. American Home is a wholly owned subsidiary of                                                 Char     is, Inc. ("Chartis"),

formerly American International Group Commercial Insurance Company of Canada ("AIG").

Charis acts as American Home's claims agent in connection with the insurance coverage claim

which is the subject of             this action and any reference to American Home includes Charis and

AIG.

            4. American Home is actively licensed to sell insurance in the State of                                              Tennessee

(License No.1 9380) and sold insurance policies in Tennessee.

            5. The plaintiff                 being a citizen of          the States of       Tennessee and Delaware and the

defendant being a citizen of Canada and/or the State of                                  New York, and the matter in controversy

exceeding the sum of$75,000, exclusive of                             interest, attorney's fees, and costs, this Cour has

jurisdiction pursuant to 28 U.S.C. § 1332.

            6. This cour is a proper venue for this action under 28 U.S.C. § 1391 because a


substantial part of            the acts or omissions giving rise to the insurance dispute occurred in this

judicial district.

                                                             Factual Allegations

                                              The Call Center Services Agreement.

           7. On September 12,2005, ClientLogic and Trilegiant Corporation entered into a

Call Center Services Agreement (the "Agreement") which incorporated by reference a Statement

of   Work ("SOW"), which was to be amended from "time to time." A Vendor Standards Manual




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("VSM") also supplemented the Agreement. (The Agreement, SOW, and VSM shall be

collectively referred to as the "CCS Agreement" and are attached as Exhibit A.)

            8. American Home issued and sold Miscellaneous Professional Liability Policy

#5463456 (the "Policy") providing $25,000,000 in liability coverage for both Damages and

Claims Expenses above a $1,000,000 self-insured retention for the policy period of January 30,

2007 to April 1,2008 to ClientLogic in Nashville, Tennessee. (Exhibit B). American Home's

Policy promised to provide ClientLogic and Sitel liability coverage for any "actual or alleged

negligent acts, errors or omissions arising out of                 Professional Services," which were expressly

defined to include "inbound and outbound sales. . . customer service. . . telemarketing" and

"operating and managing contact centres and contact centre services. . . for inbound and

outbound customer service and care." See Exhibit B, § I(A), Declaration Item 6 and

Endorsement 2.

            9. On February 20, 2007, ClientLogic changed its name to Sitel Operating


Corporation.

            10. As par of               the CCS Agreement, Sitel agreed to provide telemarketing services,

including receiving inbound telemarketing sales calls from prospective Trilegiant customers and

placing outbound calls soliciting customers for sales. Sitel also agreed to record every sale made

on both inbound and outbound calls and to maintain a copy of the recording for a minimum

period of 48 months from the date of sale. Such a record is referred to as a "proof of enrollment"

or "POE."

            11. Section D.(l)(2) of                  the VSM states in part: "(fJailure to produce a proof of

enrollment recording wil result in a $250.00 fine per incident (... J (tJhe Vendor/Partner agrees

to assume all Legal expenses as a result of                  the lost or missing proof of enrollment."




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 Sitel Notifies American Home of Trilegiants Claim - American Home Disclaims Coverage.

            12. In March 2008, Trilegiant notified Sitel that it was making a claim against Sitel

for damages arising from Sitel's alleged failure to record and maintain POEs during the period

September 28,2006, to September 1,2007.

            13. On March 28,2008, Sitel provided wrtten notice of                      Trilegiants claim for


damages against Sitel to American Home through its agent AON Reed Stenhouse. (Exhibit C).

            14. Trilegiant then issued a demand on April 11, 2008, to Sitel for payment of


$33,540,500 in liquidated damages arising out ofSitel's alleged "gross negligence" in failing to

comply with Section D.(l)(2) of                     the VSM. (Exhibit D). Trilegiant followed its initial demand

with a letter attaching a draft complaint incorporating allegations contained in its initial demand,

which was transmitted to American Home on December 1, 2008.

            15. On December 15,2008, American Home, through its claims agent, AIG, sent a

"Coverage Disclaimer" letter denying coverage to Sitel for Trilegiants gross negligence claim

seeking liquidated damages on the grounds that penalties and fines are not covered under the

Policy and that no "Claim" was made during the policy period. American Home notified Sitel

that "American Home wil not defend and/or indemnify ClientLogic/Sitel in the above-

referenced Trilegiant matter." (Exhibit E.)




            Trilegiant Files Civil Action - American Home Continues to Deny Coverage.

            16. On July 21, 2009, Trilegiant filed a civil complaint seeking damages against Sitel

in the U.S. District Court for the Southern District of                   New York, 09-CV-6492 ("Civil Action,"

attached as Exhibit F).

            17. The Civil Action alleges counts for negligent breach of contract (Count I) and

negligence (Count II).




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            18. Trilegiant alleges in Count I that Sitel breached the express provisions of the


Agreement by failing to record POEs in a manner that "amounts to gross negligence" by failing

to maintain Trilegiants POE recordings and failing to adopt sufficient safeguards to prevent the

destruction of         Trilegiants POE recordings. Trilegiants Count I claim seeks recovery of


"liquidated damages" from Sitel in the amount of "$250 for each POE recording that Sitel has

failed to retain and produce."

            19. Trilegiant alleges in Count II that Sitel breached its duty of care owed to


Trilegiant and was "negligent" by failing to maintain Trilegiants POE recordings and failing to

adopt sufficient safeguards to prevent the destruction of                                Trilegiants POE recordings.

Trilegiants Count II claim - "(aJs a result of Sitel's negligence" - seeks recovery of                                 "damages,

including but not limited to lost profits, damage to its reputation, loss of goodwill and costs of

remediation. "

            20. Trilegiants prayer for relief seeks an award for "liquidated damages" in the


amount of $33,500,000 or, in the alternative, an award of "actual damages including but not

limited to lost profits, damage to its reputation, loss of goodwill and costs of remediation." It

further claims "actual damages, including lost profits, as a result of Sitel' s negligence" and

attorneys' fees and costs as provided for under the Agreement.

            21. On July 27, 2009, Sitel provided written notice of                               the filing of   the Civil Action to

American Home and transmitted a copy of                              the complaint.

           22. On August 5, 2009, AIG sent a letter to Sitel reaffirming its denial of coverage for

Trilegiants gross negligence claim seeking to recover liquidated damages. The letter states in

part: "The Complaint as now filed is very similar to the draft Complaint that was provided to us

earlier, and concentrates on the claim for liquidated damages. We had previously considered that




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claim, and advised that there is no coverage available under the policy to respond to those

allegations." (Exhibit G).




                                                 Claimfor Declaratory Judgment
          24. Sitel's "Claims Expenses" incurred and "Damages" claimed by Trilegiant, as


those terms are defined in the Policy, exceed the Self Insured Retention ("SIR") and American

Home owes a duty to indemnify Sitel for all such amounts that exceed the SIR.

          25. American Home's denial of Sitel's claim breaches the terms and conditions of                    the

Policy.

          26. American Home has refused to participate in the defense of                     Trilegiants claim and


refuses to participate in - or contribute insurance proceeds to - settle the claims asserted against

its insured, Site!.

          27. For the reasons stated above, an actual controversy between the plaintiff and


defendant exists within the jurisdiction of this Court involving the rights and liabilities under a

contract of liability insurance, and this Court may issue a judgment resolving this controversy

without other suits.



                                                            Requestfor Relief
WHEREFORE, the plaintiff, Sitel, requests:

          1. A declaration that the Policy provides coverage for the claims asserted in the Civil
Action, and that American Home owes a duty to indemnify Sitel for Damages and Claims;

          2. Expenses in excess of                       the Self-Insured Retention;

          2. Recovery of its costs and attorney fees incurred herein; and

          3. Any and all further relief to which it may appear entitled.




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